





TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00059-CR







Mateo Guido, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 390TH JUDICIAL DISTRICT


NO. 000249, HONORABLE JULIE H. KOCUREK, JUDGE PRESIDING







PER CURIAM

This is an appeal from a conviction for aggravated robbery.  Sentence was imposed
on November 29, 2000.  There was no motion for new trial.  The deadline for perfecting appeal
was therefore December 31.  See Tex. R. App. P. 26.2(a)(1).  Notice of appeal was filed on
January 8, 2001.  No extension of time for filing notice of appeal was requested.  See Tex. R.
App. P. 26.3.  We lack jurisdiction to dispose of the purported appeal in any manner other than
by dismissing it for want of jurisdiction.  See Slaton v. State, 981 S.W.2d 208 (Tex. Crim.
App.1998); Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App. 1996).


The appeal is dismissed.


Before Chief Justice Aboussie, Justices Yeakel and Patterson

Dismissed for Want of Jurisdiction

Filed:   February 15, 2001

Do Not Publish



